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     IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY, MARYLAND

KRISTIN SIMMONS                                      *
3300 Mills Crossing Place
Kensington, Maryland 20895                           *

       Plaintiff,                                    *

v.                                                   * Civil Action No.

UM CAPITAL REGION HEALTH, Inc.                       *
250 W. Pratt Street, 24th Floor
Baltimore, MD 21201                                  *

       Serve: Resident Agent, Mary Elizabeth Zorzi
       University of Maryland Medical System Corp.*
       250 West Pratt Street, 24th Floor
       Baltimore, Maryland 2120 I                  *

DIMENSIONS HEALTH CORPORATION d/b/a *
UM Capital Region Health, lnc.
300 1 Hospital Drive                *
Cheverly, Maryland 20785
                                                     *
       Serve: Resident Agent:
       University of Maryland Medical Sys. Corp. *
       Office of the General Counsel
       24th Floor, 250 West Pratt Street         *
       Baltimore, Mary land 21201
                                                      *
        Defendants.

        ****************************************************************

                      COMPLAINT AND ELECTION FOR JURY TRIAL

        Now comes, Kristin Simmons ("Ms. Simmons"), by and through counsel, and sues the

 Defendants, UM Capital Region Health, Inc., and Dimensions Health Corporation d/b/a UM

 Capital Region Health (collectively "Capital Health"), and in support thereof states as follows:

                                                 PARTIES
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       1.      The Plaintiff, Kristin Simmons, is an adult citizen of Maryland, and the United

States, residing at 3300 Mills Crossing Place, Kensington, Maryland. At all times relevant

hereto, Plaintiff was employed as an infection preventionist at UM Capital Region Health , Inc. in

Prince George's County, Maryland. Ms. Simmons is an individual entitled to protection under

Americans with Disabilities Act (ADA), 42 U .S.C. § 12112(a) and§ 12203(a), as amended by

the Americans with Disabilities Amendments Act (ADAAA). Plaintiff's claims also arise under

Title 31 U.S .C. Section 3730(h).

       2.       The Defendant, UM Capital Region Health, Inc. ("Capital Health") organized and

existing under the laws of the State of Maryland, has a corporate headquarters at 250 West Pratt

Street, Baltimore, Maryland and regularly does business at Dimensions Health Corporation

(UMPG Hospital Center) located at 3001 Hospital Drive, Cheverly, Maryland, Prince George' s

County where the Plaintiff was employed. At all times relevant hereto, Defendant maintained

offices, did business, and employed workers, including Plaintiff, at UM Prince George's Hospital

Center, Maryland location.

       3.       The Defendant, Dimensions Health Corporation, is organized and existing under the

laws of the state of Maryland, and has a corporate headquarters at 3001 Hospital Drive, Cheverly,

Maryland, Prince George's County. At all times relevant hereto, Defendant Dimensions Health

Corporation owned, operated and did business as UM Capital Region Health, Inc. at the 3001 Hospital

Drive, Cheverly Maryland location. Collectively, Dimensions Health Corporation and UM Capital

Regional Health, Inc. shall be referred to as "Capital Health".

                                                JURlDICTION

        4.      This Court has concurrent jurisdiction over this action under 42

U.S.C.§ 1981 over Plaintiffs claims arising under Americans with Disabilities Act (ADA), 42
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U.S.C. § 12112(a) and§ 12203(a), as amended by the Americans with Disabilities Amendments

Act (ADAAA). In addition, Plaintiffs claims arise under Maryland common law and Title 31

U.S.C. Section 3730(h).

       5.     Venue and personal jurisdiction are proper in the Circuit Court for

Prince George's County, as it is the County in which Defendants regularly conduct

business, and is a County in which Plaintiff provided employment services to

Defendants.

       6.      Plaintiffs claims exceed the minimum jurisdictional amount of

$75,000.00.

       7.      The unlawful employment practices described herein were committed within the

State of Maryland, in Defendants' offices in Prince George's County, Maryland. Accordingly,

venue is proper in the Circuit Court for Prince George's County.

       8.      Plaintiff has exhausted her administrative remedies with the EEOC where her

charge has been pending over 180 days and received Notice of her right to bring suit on February

9, 2021. As such, this suit is timely filed within the 90 days of receiving notice of the EEOC

Notice of Right to Sue letter, and she has met all jurisdictional prerequisites to bringing this

action. Defendant is an employer as defined under each respective statute.

                       FACTS COMMON TO ALL COUNTS

       The Plaintiff incorporates, repeats, realleges, adopts and incorporates by

reference, paragraphs 1 through 8 above as though fully set forth herein.

        9.     Plaintiff was hired as an Infection Control Practitioner to work at

 Capital Health beginning on September 18, 2017. She was responsible for

monitoring infection rates at the facility known as Prince George's H ospital Center.
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      10.    Pl~intiff was diagnosed with a permanent neuromuscular di~order ,

fascioscapulohumeral muscular dystrophy (FSHD or FSHMD) that causes flares of

pain and fatigue due to imbalance of muscle atrophy. This medical disorder causes

laxity and lack of function in several muscles, including in Plaintiffs face. This

medical disability impairs one or more of her major life functions, including working

and motor skills, such that she is disabled under ADA and ADAAA.

      11.    Plaintiffs supervisor at Capital Health, Yeo-Jin Lee, expressed her

dislike of Plaintiff based on the symptoms of the Plaintiffs n euromuscular medical

condition, one symptom of which makes her passive neutral face less pleasant and

which can be interpreted to be negative, as it is more difficult for Plaintiff to smile

due to laxity in her facial muscles.

      12.    On November 17, 2017, Supervisor Lee told Plaintiff that her "attitude

was unacceptable" because she did not smile at her supervisor in hallways, and

"looked" disengaged, disinterested, or aggressive in meetings.

      13.    Plaintiff spoke to Laura Louis-Fils, the Human Resources (HR)

Manager of Employee Relations about this negative comment on November 20,

2017, and disclosed her disability and was concerned that her disability was the

reason for Ms. Lee's criticism, i.e., that Plaintiff did not smile and her face did not

"look" like she was interested.

      14.    Thereafter, Supervisor Lee was continually negative and critical of

Plaintiff and often gave contradictory directions. For instance, Ms. Lee would ask
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Plaintiff to do a specific assignment, and then would later deny that she had asked

Plaintiff to do it and criticize her for doing it.

       15.    Co-workers also noticed that Ms. Lee was treating Plaintiff differently,

often ignoring suggestions made by Ms. Simmons but accepting the same

suggestion when stated by a co-worker. The happened repeatedly and was clearly so

intentional that it was noticed by Plaintiffs coworkers.

       16.    On or about March 2, 2018, Ms. Lee told Plaintiff that Plaintiffs face

was offensive to her. Specifically, Plaintiff was invited to a meeting with Ms. Lee

and her manager, Ingrid Connerney, to discuss how to streamline the department's

work in the absence of a coworker. In the midst of a discussion about work

assignments, Ms. Connerney interjected that Plaintiffs face and intonation were

offensive to her, that Plaintiffs body language was unfriendly and that it "makes

her uncomfortable."

       17.    At this point, despite Plaintiffs wishes to keep knowledge of her

disability between herself and Human Resources, Plaintiff thought it necessary to

disclose to both Ms. Lee and Ms. Connerney the nature of the physical limitations

FSHD causes to prevent further insults about her personal appearance and body

over which Plaintiff has only limited control. Plaintiff explained that as a result of

her condition, her facial muscles are weakened and less controlled, making it

difficult to maintain a "pleasant" passive face, which is why her face sometimes

seems expressionless or not "smiley".
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      18.    Both Ms. Lee and Ms. Connerney expressed understanding, at the

time. They stated at this meeting that Plaintiffs work was impeccable, so the only

complaint they had with Plaintiff was their perception of Plaintiffs attitude based

on facial expressions, or lack thereof, that are outside of Plaintiffs control.

       19.   Thereafter, Plaintiff noticed that Ms. Lee carried a notebook with

"Kristin Simmons" printed on the front. Supervisor Lee did not carry similar

notebooks for other employees.

      20.     Ms. Lee also gave Plaintiff assignments with unrealistic deadlines, on

short notice, and then would criticize her for not meeting the deadlines.

      21.    Ms. Lee started calling Plaintiff out in department meetings in front of

other employees, specifically asking her whether she had a reaction to what she was

saying because she could not tell how she "felt" about what was being said.

      22.    Ms. Lee continued to ignore Plaintiffs input and suggestions in team

meetings which was obvious to other employees so much so that other employees

volunteered to pass off Plaintiffs ideas as their own so that they could accomplish

what was necessary for the entire team.

      23.    Plaintiff told Human Resources about Ms. Lee's and Ms. Connerney's

negative comments about Plaintiffs face and lack of expression in an oral complaint

to HR on March 22, 2018 and met with HR representatives to discuss disability-

related concerns on March 30, 2018.

      24.    Because of the physical demands of the job and stress caused by the

intimidating h arassment by her supervisor, Plaintiffs symptoms worsened. Plaintiff
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made formal requests for accommodation and presented doctor's notes in support of

accommodation requests.

        25.   On April 20, 2018, Plaintiff requested a sit-stand desk as an

accommodation and received a manual sit-stand desk.

        26.   On May 17, 2018, Plaintiff requested that she be provided an electric

sit-stand desk because h er impairment makes it difficult and painful to raise and

lower a desk manually. Capital Health approved the request for an electric sit-stand

desk.

        27.   Despite these accommodations, Plaintiff continued to be targeted by

h er supervisor leading to increasing stress from difficult interactions which

exacerbated h er symptoms. Plaintiff requested that there be a third person present

when she had to meet with Ms. Lee about work matters, and that Ms. Lee send

Plaintiff summary emails recapping assignments and the information given during

the one-to-one meetings so that sudden deadlines and unrealistic expectations

would stop occurring.

        28.   Plaintiff believed having a record of assignments would prevent Ms.

Lee from claiming she had given Plaintiff directions when she had not, and from

changing the nature of the tasks she assigned to Plaintiff without warning. On May

3, 2018, Capital Health denied this request.

        29.   Eventually, Plaintiff was granted the accommodation of having

someone from HR present during Plaintiffs work meetings with Ms. Lee.
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      30.    At the end of September 2018, at a formal performance review, Ms. Lee

rated Plaintiff as meeting expectations in all performance metrics.

      31.    On November 28, 2018, Plaintiff had a one-to-one meeting with Ms.

Lee that was also attended by HR. Ms. Lee criticized Plaintiff for not having

completed two assignments-updating the Isolation Policy and updating the

Management of Multi-Drug Resistant Organisms (MDROs) Policy-in time for the

November Infection Prevention meeting. However, Plaintiff had told her on

November 26 that the policies would not be ready for the meeting on November 28,

and Ms. Lee said she understood.

      32.    At the November 28, 2018 meeting, Ms. Lee tried to criticize Plaintiff

for the timing of the preparation of these policies. In response, Plaintiff stated that

she had not been given a deadline for completion of the policies and she did not have

time to have them prepared on short notice. The HR representative present at the

one-to-one meeting, Veronica Ford, told Ms. Lee that she needed to set and

communicate specific deadlines for work projects which would enable Plaintiff to

prioritize her work.

      33.    Ms. Lee never met with Plaintiff again. Ms. Lee continued h aving one-

to-one meetings each month with other employees but failed to schedule any more

meetings with Plaintiff.

      34.    UM Prince George's Hospital needed additional ICU beds, but could

not construct new ones. Its' solution was to divert overflow patients requiring ICU-
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level care to their post-anesthesia care unit (PACU), which is located in a

completely separate area from the ICU.

      35.     On or about December 28, 2018, Ms. Lee asked Plaintiff to determine

how Capital H ealth could count post-anesthesia care unit (PACU) beds located on a

different floor from the intensive care unit (ICU) as part of the ICU beds. By adding

these beds into the numbers for the ICU beds, it would skew numbers reported and

presumably improve infection control numbers that are published to Medicare,

Medicaid and other health care organizations.

       36.    In particular, under NHSN guidelines, the number of observed

infections is divided by the number of expected infections to yield the standardized

infection ratio (SIR). The Center for Medicare and Medicaid Services utilizes the

SIR to compare a hospital's performance to national benchmarks to make decisions

on reimbursement rates and/or penalties attributed to the hospital. Making this

number look more favorable would cause Medicare to believe that the unit was

performing better th an it actually was performing.

       37.    The National Healthcare Safety Network separates units by their

physical location so it is inappropriate to add PACU beds to the ICU beds under the

NHSN guidelines. Plaintiff knew that it would be inappropriate to lump the two

areas together a nd told Ms. Lee she did not believe it was appropriate. Nonetheless,

Ms. Lee insisted that she thought it could be done and dismissed Plaintiffs

objections.
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      38.   Plaintiff sought confirmation from NHSN that it would be

inappropriate to count PACU beds with ICU beds that were located in a different

area regardless of how they were being used at the time.

      39.   According to the Center for Disease Control: Ensuring data accuracy is

critically important to both the Centers for Disease Control and Prevention (CDC)

and the Centers for Medicare and Medicaid Services (CMS) for guiding prevention

priorities and protecting patients. CDC and CMS require that a ll infections that

meet the specified NHSN criteria and that CMS requires for incentive payment or

public reporting purposes be reported to NHSN.

      40.    Repercussions of failing to follow the NHSN rules could result in

serious a llegations against the employer, and termination of employees. As such,

Plaintiff felt that sh e needed to make sure NHSN rules were followed as they are

the standard in the industry and required of health care organization receiving

Medicare dollars by the CDC and CMS.

      41.    Ms. Lee continued to suggest that she was going to simply add the

PACU numbers into the ICU. Ms. Lee continued to s uggest that Plaintiff could not

read and understand t he NHSN guidelines. Plaintiff refused to submit falsified

numbers.

      42.    At a team meeting on January 10, 2019, Ms. Lee again insisted that

the PACU data be added into th e ICU data. Plaintiff again objected. Nonetheless,

pressure to calculate the PACU beds with the ICU beds continued.
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      43.     Plaintiff explained at a meeting on January 14, 2019, that Ms. Lee's

proposed counting method would violate NHSN guidelines, and that Plaintiff had

obtained confirmation directly from NHSN that it was not permitted by NHSN

guidelines.

      44.     Plaintiff informed Ms. Lee that she had confirmed her understanding

of the guidelines with NHSN and that the P ACU beds could not be counted together

with ICU beds, at which point Ms. Lee lost her temper.

      45.     Ms. Lee fired Plaintiff on February 19, 2019.

      46.     Neither Ms. Lee nor anyone else at Capital Health gave Plaintiff any

explanation for her termination. Plaintiff had no prior warnings or discipline.

      4 7.    Plaintiffs termination violates Capital Health policies requiring that

notice or warning be given prior to firing an employee.

      48.     There was no legitimate cause for Plaintiffs termination.

      49.     Plaintiff was fired because Ms. Lee did not like Plaintiff due to her

disability; and/or because she resented having someone from HR present to monitor

her 1-1 meetings with Plaintiff; and/or because Plaintiff refused to participate in

activities that would result in the reporting of inaccurate infection rates to CMS.
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                                       Count!
 Americans with Disabilities Act (ADA), 42 U.S.C. § 12112(a) and § 12203(a), as amended
            by the Americans with Disabilities Amendments Act (ADAAA)


        Plaintiff incorporates paragraphs 1 through 49 as though repeated herein in

full.

        50.    At all times pertinent hereto, Ms. Simmons was employed by Capital

Health.

        51.    Ms. Simmons had a physical disability as contemplated under t he ADA

and ADAAA as h er disability effected major life functions, including her ability

work and motor skills.

        52.    Ms. Simmons was a qualified individual, performing the essential

functions of h er job with and without reasonable accommodation.

        53.    Defenda nts were aware that Ms. Simmons had a disability a nd

continued to harass and intimidate Ms . Simmons for her disability.

        54.    Defendant Capital Healt h , by and through its employees, took an

employment action a dverse to Plaintiff and discriminated against h er because of

h er disability when demanding that sh e ch a nge h er face and body because they

were "offensive."

         55.   Defenda nts, by a nd through its employees, took an employment action

adverse to Plaintiff and discriminating against Plaintiff because of her disability by

refusing to let her m eaningfully participate in meetings after learning of her

disability.
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      56.    Defendant Capital Health took an employment action adverse to Ms.

Simmons and discriminating against her because of her disability by terminating

Ms. Simmons on February 19, 2019.

      57.    Defendant Capital Health took all of the above discriminatory actions

willfully and in violation of the ADA and ADAAA.

      58.    Capital Health took action that interfered with Ms. Simmons' right for

reasonable accommodations and retaliated against her for exercising that right.

      59.    An employer who violates the ADA and ADAAA shall be liable for

damages equal to any wages, salary, employment benefits, or other compensation

denied or lost to such employee by reason of the violation, prejudgment interest, an

additional amount as liquidated damages equal to the sum of the foregoing,

equitable relief as may be appropriate, including employment, reinstatement, and

promotion, and reasonable attorney's fees.

      60.    There is a causal connection between the request for accommodation

(protected activity) and the adverse employment action that has resulted in

damages, including loss of pay, loss of benefits, and loss of employment.
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                                      COUNT II
                                (Wrongful Termination)


         Plaintiff incorporates paragraph 1 through 60 as though fully repeated herein

in full.

         61.     Defendant Capital Health, by and through its employees, took an

employment action adverse to Plaintiff demanding that she change her face and

body because they were "offensive."

         62.     Defendant Capital Health, by and through its employees, took an

employment action adverse to Plaintiff by refusing to let h er mea ningfully

participate in meetings after learning of her disability.

           63.   Defendant Capital Health, repeatedly demanded that Plaintiff do

something, ie. perform and submit inaccurate calculations, that she knew would be

a dverse to the guidelines of NHSN which she was legally required to follow.

           64.   Defenda nt Capital Health repeatedly demanded that Plaintiff violate

NHSN guidelines, which action could potentially result in Medicare and Medicaid

fraud.

           65.   Defendant Capital Health took an employment action adverse to Ms.

Simmons by terminating Ms. Simmons on February 19, 2019 because of her

requests for accommodations for a disability.

           66.   Defendant Capital Health terminated Pla intiff when she engaged in

protected activity, speaking out and refusing to participate in activities that would

result in the reporting of inaccurate infection rates to CMS.
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       67.       There is a causal connection between Plaintiffs protected activity and

Plaintiffs termination.

                                         Count III
                           (Retaliation under False Claim Act)
                               Title 31 U.S.C. Section 3730(h)


           Plaintiff incorporates paragraph 1 through 67 as though fully repeated her ein

in full.

           68.   Title 31 U.S.C. Section 3730(h) prohibits retaliatory actions against

any employee, former employee, contractor, or agent who takes lawful actions in

furtherance of a False Claims Act.

           69.   Plaintiff repeatedly informed Capital Health that miscounting the ICU

beds at the Prince George's Hospital Center would be in violation of CDC and

NHSN guidelines.

           70.   Defendant, Capital Health, repeatedly demanded that Plaintiff do

something, ie. perform and submit inaccurate calculations, that she reasonably

believed or knew would be in violation of t he guidelines of NHSN which sh e was

legally required t o follow.

           71.   Defendant Capital Health repeatedly demanded that Plaintiff violate

NHSN guidelines, which would result in Medicare and Medicaid fraud.

           72.   Defendant Capital Health took an employment action adverse to Ms.

Simmons by terminating Ms. Simmons on February 19, 2019 because of her

disagreement with her supervisor and refusal to perform and submit inaccurate

calculations in violation of the NHSN guidelines.
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      73.    Defendant Capital Health terminated Plaintiff when she engaged in

protected activity, speaking out and refusing to participate in activities that would

result in the reporting of inaccurate infection rates to Centers for Medicare and

Medicaid Services.

      74.    There is a causal connection between Plaintiffs protected activity and

Plaintiffs termination. The "bed counting controversy" was an explanation for

Plaintiffs termination by Capital Health which was disclosed well after her

termination occurred.

      WHEREFORE, Plaintiff Simmons, prays this Honorable Court, award

judgment against Defendant Capital Health as follows:

      A.     For a money judgment representing compensatory damages in an

amount exceeding $75,000, including lost wages, past and future wages, all other

sums of money, including any and all benefits and any other employment benefits

together with interest on said amounts, in addition to tort damages;

       B.    For money judgment representing punitive damages for defendant's

willful violations oflaw;

       C.     For money judgment representing prejudgment interest, if applicable;

       D.    Reinstatement and restoration of benefits;

       E.    That this Court retain jurisdiction over this action until defendant has

fully complied with the orders of this Court;

       F.     For lost monies and damages pertaining to out-of-pocket expenses plus

interest;
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      G.     For costs of suit, including an award of reasonable attorney's fees,

expert fees; and,

      H.     For such other and further relief as may be just and proper.

                                  Prayer for Jury Trial

      Plaintiff, Kristin Simmons, respectfully requests a trial by jury on all claims.

                                        Respectfully Submitted,




                                                  ly n , Esquire
                                        (CPF#       50138)
                                        Ellen.Flynn@smitheylaw.com
                                        Smithey Law Group, LLC
                                        706 Giddings Avenue, Suite 200
                                        Annapolis, Maryland 21401
                                        410-919-2990
                                        443-87 5-7303 (cell)

                                        Attorneys for Plaintiff, Kristin Simmons
